                                          Appendix C
              Statement of Surveys Procedures by Zeine Saudi, COO Promark Research

  On September 11th , 2016, Dr. Kent Tedin provided Promark Research Corporation with a
  telephone script. We made minor revisions to the script, which were approved by Dr. Tedin,
  before we programmed it into a Computer Assisted Telephone Interview (CATI) and made the
  survey available for trained telephone operators to implement outbound telephone calls from
  the United States. Promark Research Corporation’s Zeine R. Saidi, Chief Operating Officer, and
  Mario Xatruch, CATI Programmer, led, facilitated, and reported results for this telephone
  polling project. The CATI was tested internally and used to train all telephone interviewers
  prior to the launch of the survey. Promark trained roughly 45 telephone operators on how to
  conduct the calls, as well as trained them on how to administer the survey in a consistent
  manner. The phone script had a brief introduction explaining the nature and importance of the
  telephone interview to each potential respondent. The CATI provides Promark with a more
  efficient way to monitor the data and the survey process.

  Individuals 18 and older were screened by location, English language comprehension, U.S.
  Citizenship, and gender. Gender was only used as a screener to maintain an equal
  representation of both males and females for each area. If a respondent did not answer the
  first time, our telephone operators were told to try to contact that household another three (3)
  times at different times throughout the survey period before removing the number from the
  prospective respondent list. Promark Research Corporation began calling for the Tennessee
  survey on September 14th, 2016 and finished on September 22nd, 2016. Promark completed 624
  valid telephone surveys in:
  Knoxville, TN

  Anderson, Blount, Campbell, Claiborne, Grainger, Jefferson, Knox, Loudon, Monroe, Morgan, Roane,
  Scott, Sevier and Union Counties

  Nashville, TN

  Cannon, Cheatham, Davidson, Dickson, Houston, Humphreys, Montgomery, Robertson, Rutherford,
  Stewart, Sumner, Trousdale, Williamson and Wilson Counties.

  Additional information: Respondents who refused to participate in the survey were not called again. All
  calls were monitored and supervised. Any persons who said yes, I don’t know, or refused to answer if
  they were convicted of a felony were excluded from the data analysis and reporting. All calling records
  come from a random sample of households in the area.

  Zeine Saidi, COO, is the co-founder of Promark Research Corporation and has 31 years of experience in
  public opinion research and telephone interviewing. He has been personally involved in literally
  hundreds of thousands of telephone interviews at Promark since 1997. He previously worked at a
  subsidiary of The Gallup Organization where he was involved in nearly every aspect of the research
  process.




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